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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :      Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                                 Case No. 19-10412 (JLG)
                                                               :
                                      1
                           Debtors.                            :      (Jointly Administered)
                                                               :      Related Docket No. 5
---------------------------------------------------------------X

         ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM
         AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

        Upon the application of Ditech Holding Corporation and its debtor affiliates, as debtors

and debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

for an order, pursuant to Federal Rule of Bankruptcy Procedure (the “Bankruptcy Rules”) fixing

deadlines and establishing procedures for filing proofs of claim and approving the form and

manner of service thereof; and it appearing that the relief requested is in the best interests of the

Debtors, their estates, and creditors and that adequate notice has been given and that no further

notice is necessary; and after due deliberation and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.       Except as otherwise provided herein, pursuant to section 502(b)(9) of title 11 of the

United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2002 and 3003(c)(3), Rule 3003-

1 of the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”), and



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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
     Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
     Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
     Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
     Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
     (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
     Drive, Suite 100, Fort Washington, Pennsylvania 19034.
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the United States Bankruptcy Court for the Southern District of New York’s Procedural Guidelines

for Filing Requests for Orders to Set the Last Date for Filing Proofs of Claim, updated as of

December 1, 2015 (the “Guidelines”), all persons and entities, (including, without limitation,

individuals, partnerships, corporations, joint ventures, trusts and governmental units) that assert a

claim, as defined in Section 101(5) of the Bankruptcy Code, against the Debtors which arose on

or prior to the filing of the Chapter 11 petitions on February 11, 2019 (the “Commencement

Date”), including claims asserted under section 503(b)(9) of the Bankruptcy Code, shall file a

proof of such claim in writing or electronically in accordance with the procedures below so that it

is received on or before April 1, 2019 (the “General Bar Date”).


       2.      Notwithstanding any other provision hereof, proofs of claim filed by governmental

units (as defined in section 101(27) of the Bankruptcy Code) must be filed on or before August

12, 2019 (the date that is one hundred eighty (180) days after the date of the order for relief as

calculated in accordance with Bankruptcy Rule 9006 (a)(i) [JLG](the “Governmental Bar

Date”).


       3.      Notwithstanding any other provision hereof, claimants must file proofs of claim

with respect to amendments or supplements to the Debtors’ schedules of assets and liabilities (the

“Schedules”) on or before the later of (i) the General Bar Date or the Governmental Bar Date, as

applicable and (ii) 5:00 p.m. (Prevailing Eastern Time) on the date that is thirty (30) days from the

date on which the Debtors provide notice of previously unfiled Schedules (as defined herein) or

an amendment or supplement to the Schedules (the “Amended Schedules Bar Date”).


       4.      Notwithstanding any other provision hereof, any person or entity that holds a claim

that arises from the rejection of an executory contract or unexpired lease must file a proof of claim




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based on such rejection on or before the later of (i) the General Bar Date or the Governmental Bar

Date, as applicable, and (ii) 5:00pm (Prevailing Eastern Time) on the date that is thirty (30) days

after entry of the order authorizing such rejection (the “Rejection Damages Bar Date”, and

together with the General Bar Date, the Governmental Bar Date, and the Amended Schedules Bar

Date, the “Bar Dates”). For the avoidance of doubt, a counterparty to an executory contract or

unexpired lease is permitted to file a single proof of claim on account of its claims arising under

the applicable contract or lease agreement (including claims for prepetition defaults and rejection

damages) by the Rejection Damages Bar Date.


         5.     The (i) proposed notice of the Bar Dates, substantially in the form annexed hereto

as Exhibit 1 (the “Bar Date Notice”) and (ii) model proof of claim form (the “Claim Form”),

substantially in the form annexed hereto as Exhibit 2, are approved.


         6.     The following procedures for the filing of proofs of claim (the “Procedures”) shall

apply:

                (a)     Proofs of claim must conform substantially to the Claim Form or Official

                        Bankruptcy Form No. 410 (the “Official Form”);2


                (b)     Proofs of Claim must be filed either: (i) electronically through Epiq’s Proof

                        of Claim website for these cases at http://dm.epiq11.com/Ditech by

                        following instructions for filing proofs of claim electronically; (ii) by

                        mailing the original proof of claim either by U.S. Postal Service mail or

                        overnight delivery to Epiq’s Claims Processing Centers for the Debtors at



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    The Official Form can be found at www.uscourts.gov/forms/bankruptcy-forms, the official website for the
    United States Bankruptcy Courts. The Claim Form can be found at http://http://dm.epiq11.com/Ditech, the
    website established by Epiq for the Debtors’ chapter 11 cases.


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                      (x) P.O. Box 4421, Beaverton, OR 97076 or (y) 10300 SW Allen Blvd.,

                      Beaverton, OR 97005; or (iii) by delivering the original Proof of Claim by

                      hand to (x) the United States Bankruptcy Court for the Southern District of

                      New York at One Bowling Green, New York, NY 10004-1408 or (y) Epiq’s

                      Claims Processing Center for the Debtors at 10300 SW Allen Blvd.,

                      Beaverton, OR 97005 or (z) 777 Third Avenue, 12th Floor, New York, NY

                      10017;


               (c)    Proofs of claim will be deemed filed only when received by the Clerk of the

                      Bankruptcy Court or by Epiq on or before the applicable Bar Date;


               (d)    Proofs of claim must (i) be signed; (ii) include supporting documentation

                      (if voluminous, attach a summary) or an explanation as to why

                      documentation is not available; (iii) be in the English language; and, (iv) be

                      denominated in United States currency;


               (e)    Proofs of claim must specify by name and case number the Debtor against

                      which the claim is filed. If the holder asserts a claim against more than one

                      Debtor or has claims against different Debtors, a separate proof of claim

                      form must be filed with respect to each Debtor. If the holder files a proof

                      of claim without identifying a Debtor, such proof of claim will be deemed

                      as filed only against Ditech Holding Corporation; and


               (f)    Proofs of claim sent by facsimile, telecopy, or electronic mail transmission

                      will not be accepted.


      7.       The following persons or entities need not file a proof of claim on or prior to the


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Bar Dates:

               (a)   Any claim as to which the holder has already filed a proof of claim against

                     the Debtors in the above-captioned case in a form substantially similar to

                     the Claim Form or the Official Form and otherwise in compliance with these

                     Procedures;


               (b)   Any claim that is listed on the Schedules filed by the Debtors, provided that

                     (i) the claim is not scheduled as “disputed”, “contingent” or “unliquidated”;

                     and (ii) the claimant does not disagree with the amount, nature and priority

                     of the claim as set forth in the Schedules; and (iii) the claimant does not

                     dispute that the claim is an obligation of the specific Debtor against which

                     the claim is listed in the Schedules;


               (c)   Any claim that heretofore has been allowed by Order of this Court;


               (d)   Any claim that has been paid in full by any of the Debtors;


               (e)   Any claim for which different specific deadlines have previously been fixed by

                     this Court;


               (f)   Any claim by a Debtor against another Debtor;


               (g)   Any claim that asserts an equity security interest in the Debtors, which

                     interest is based exclusively upon the ownership of common or preferred

                     units, membership interests, partnership interests, or warrants, options, or

                     rights to purchase, sell, or subscribe to such a security or interest; provided

                     that if any holder asserts such a claim (as opposed to an ownership interest)



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                     against the Debtors (including a claim relating to an equity interest or the

                     purchase or sale of such equity interest), a proof of claim must be filed on

                     or before the applicable Bar Date pursuant to the Procedures;


               (h)   Any claim allowable under sections 503(b) and 507(a)(2) of the Bankruptcy

                     Code as an expense of administration (other than a claim arising under

                     section 503(b)(9) of the Bankruptcy Code);


               (i)   Any claim limited exclusively to the repayment of principal, interest, fees,

                     expenses, and any other amounts owing under any agreements governing

                     any notes, bonds, debentures, or other debt securities (collectively, the

                     “Debt Securities”) (x) issued by any of the Debtors, (y) secured by assets

                     of any of the Debtors or agreements with respect to such assets, or (z)

                     secured by assets leased to any of the Debtors (a “Debt Claim”) pursuant

                     to an indenture or credit agreement, as applicable (together, the “Debt

                     Instruments”) if the relevant indenture trustee, administrative agent,

                     registrar, paying agent, loan or collateral agent, or any other entity serving

                     in a similar capacity however designated (each, a “Debt Agent”) under the

                     applicable Debt Instrument files a single proof of claim in the Debtors’ lead

                     chapter 11 case In re Ditech Holding Corporation (Case No. 19-10412)

                     (JLG), on or before the applicable Bar Date, against all Debtors under the

                     applicable Debt Instrument on account of all Debt Claims; provided that

                     any holder of a Debt Claim wishing to assert a claim arising out of or

                     relating to a Debt Instrument, other than a Debt Claim, must file a proof of

                     claim with respect to such claim on or before the applicable Bar Date, unless


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                       another exception identified herein applies; provided, further, that in lieu of

                       attaching voluminous documentation, including documentation for

                       compliance with Bankruptcy Rule 3001(d), the Debt Agent under the Debt

                       Instrument may include a summary of the operative documents with respect

                       to the Debt Claims; or


               (j)     Any claim held by the Prepetition Repo Facilities Parties, the Prepetition

                       1L/2L parties or any other person or entity that is not required to file a proof

                       of claim pursuant to a final order approving Debtors’ Motion for Interim

                       and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507,

                       546, 548, 555, 559, and 561 (A) Authorizing Debtors to Enter into

                       Repurchase Agreement Facilities, Servicer Advance Facilities and Related

                       Documents; (B) Authorizing Debtors to Sell Mortgage Loans and Servicer

                       Advance Receivables in the Ordinary Course of Business; (C) Granting

                       Back-Up Liens and Superpriority Administrative Expense Claims;

                       (D) Authorizing Use of Cash Collateral and Granting Adequate Protection;

                       (E) Modifying the Automatic Stay; (F) Scheduling a Final Hearing; and

                       (G) Granting Related Relief, as may be amended or superseded from time

                       to time (the “Final DIP Order”), arising from or relating to relating to any

                       of the Prepetition Repo Facilities Parties or the Prepetition 1L/2L

                       Documents, as applicable (each of the foregoing as defined in the Final DIP

                       Order).


       7.      Claims arising under section 503(b)(9) of the Bankruptcy Code must be filed by

the deadlines set forth in this Order.


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       8.      Nothing in this Order shall prejudice the right of the Debtors or any other party in

interest to dispute or assert offsets or defenses to any claim reflected in the Schedules.


       9.      Pursuant to Bankruptcy Rule 3003(c)(2), all holders of claims that fail to comply

with this Order by timely filing a proof of claim in appropriate form shall (i) be forever barred,

estopped, and enjoined from asserting such claims against the Debtors, their property, or their

estates (or submitting a proof of claim with respect thereto) and (ii) not be treated as a creditor

with respect to such claim for the purposes of voting and distribution with respect to any chapter

11 plan or plans of reorganization that may be filed in this cases.not be treated as a creditor with

respect to such claim for the purposes of voting and distribution.[JLG]


       10.     The Debtors shall cause to be mailed (i) the Claim Form and (ii) the Bar Date Notice

which shall be deemed adequate and sufficient if served by first-class mail at least thirty-five (35)

days prior to the applicable Bar Date upon:

               (a)     The United States Trustee;


               (b)     counsel to each official committee;


               (c)     all persons or entities that have filed claims;[JLG]


               (d)     all known creditors and other known holders of potential claims as of the

                       date of this order; including all persons listed in the schedules as

                       holding claims against any of the Debtors’ estates;[JLG]


               (e)     all counterparties to the Debtors’ executory contracts and unexpired leases

                       at the addresses stated therein or as updated pursuant to a request by the

                       counterparty or by returned mail from the post office with a forwarding



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                       address;


               (f)     all parties to pending litigation against the Debtors (as of the date of the

                       entry of the Proposed Order);


               (g)     all parties who have requested notice pursuant to Bankruptcy Rule 2002 (as

                       of the date of the entry of the Proposed this Order);


               (h)     the Internal Revenue Services for the district in which the case is pending

                       and, if required by Bankruptcy Rule 2002(j), the Securities and Exchange

                       Commission and any other required governmental units (a list of such

                       agencies is available from the Office of the Clerk of the Court); and


               (i)     such additional persons and entities as deemed appropriate by the Debtors.


       11.     Each Debt Agent, other than the DIP Credit Parties, the Prepetition Repo Facilities

Parties, and the Prepetition 1L/2L Parties (each as defined in the Final DIP Order) shall provide to

Epiq a list of names and addresses of the record holders of the respective Debt Security for which

it serves as Debt Agent within five (5) business days after service of this Order on the Debt Agent.


       12.     Pursuant to Bankruptcy Rule 2002(l) and the Guidelines, the Debtors shall publish

the Bar Date Notice, once in the national editions of The New York Times and USA Today at least

twenty-eight (28) days prior to the General Bar Date, which publication is hereby approved and

shall be deemed good, adequate and sufficient publication notice of the Bar Dates and the

Procedures for filing proofs of claim in these chapter 11 cases.


       13.     Any person or entity who desires to rely on the Schedules will have the

responsibility for determining that the claim is accurately listed in the Schedules.


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       14.     The Debtors and Epiq are authorized and empowered to take such steps and perform

such acts as may be necessary to implement and effectuate the terms of this Order.


       15.     Entry of this Order is without prejudice to the right of the Debtors to seek a further

order of this Court fixing a date by which holders of claims or interests not subject to the Bar Dates

established herein must file such proofs of claim or interest or be barred from doing so.




 Dated: February 21, 2019
        New York, New York

                                               /s/James L. Garrity, Jr.
                                               HONORABLE JAMES L. GARRITY, JR.
                                               UNITED STATES BANKRUPTCY JUDGE




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                                         Exhibit 1

                                   Bar Date Notice




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          :      Chapter 11
                                                               :
DITECH HOLDING CORPORATION, et al., :                                 Case No. 19-10412 (JLG)
                                                               :
                                      1
                           Debtors.                            :      (Jointly Administered)
                                                               :      Related Docket No. 5
---------------------------------------------------------------X

                                  NOTICE OF DEADLINES
                           REQUIRING FILING OF PROOFS OF CLAIM

                The United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) has entered an order (the “Bar Date Order”) establishing April 1, 2019
at 5:00 p.m. (Prevailing Eastern Time) as the last date and time for each person or entity
(excluding “governmental units,” as defined in section 101(27) of the Bankruptcy Code) to file a
proof of claim (such deadline, the “General Bar Date”) against any of the debtors listed below
(collectively, the “Debtors”).

                 The General Bar Date and the procedures set forth below for filing proofs of claim
apply to all claims against the Debtors that arose before February 11, 2019 (the “Commencement
Date”), the date on which the Debtors commenced cases under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”), including claims arising under section 503(b)(9) of the
Bankruptcy Code, and excluding claims held by those listed in Section 4 below that are specifically
excluded from the Bar Date filing requirement. “Governmental Units” (as defined in section
101(27) of the Bankruptcy Code) have until August 10, 2019 at 5:00 p.m. (Prevailing Eastern
Time), the date that is one-hundred and eighty (180) days after the order for relief as calculated
in accordance with Bankruptcy Rule 9006(a)(i)(the “Governmental Bar Date”), to file proofs
of claim against the Debtors.

                  Counterparties to the Debtors’ executory contracts and unexpired leases have until
the later of (i) the General Bar Date and (ii) thirty (30) days after entry of the order authorizing the
rejection of such contract or lease (the “Rejection Damages Bar Date”), to file proofs of claim
for rejection damages against the Debtors.


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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, as applicable, are Ditech Holding Corporation (0486); DF Insurance Agency LLC (6918); Ditech
     Financial LLC (5868); Green Tree Credit LLC (5864); Green Tree Credit Solutions LLC (1565); Green Tree
     Insurance Agency of Nevada, Inc. (7331); Green Tree Investment Holdings III LLC (1008); Green Tree
     Servicing Corp. (3552); Marix Servicing LLC (6101); Mortgage Asset Systems, LLC (8148); REO Management
     Solutions, LLC (7787); Reverse Mortgage Solutions, Inc. (2274); Walter Management Holding Company LLC
     (9818); and Walter Reverse Acquisition LLC (8837). The Debtors’ principal offices are located at 1100 Virginia
     Drive, Suite 100, Fort Washington, Pennsylvania 19034.
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                 With respect to amendments or supplements to the Debtors’ schedules of assets and
liabilities (the “Schedules”), claimants have until the later of (i) the General Bar Date or the
Governmental Bar Date, as applicable and (ii) 5:00 p.m. (Prevailing Eastern Time) on the date
that is thirty (30) days from the date on which the Debtors provide notice of previously unfiled
Schedules (as defined herein) or an amendment or supplement to the Schedules (the “Amended
Schedules Bar Date”), and together with the General Bar Date, the Governmental Bar Date, and
the Rejection Damages Bar Date, the “Bar Dates”), to file proofs of claim against the Debtors.

               The Bar Date Order, the Bar Dates, and the procedures set forth below for filing
proofs of claim apply to claims against any of the Debtors, as listed in the following table:


 NAME OF DEBTOR AND LAST FOUR DIGITS
                                                                      CASE NUMBER
 OF FEDERAL TAX IDENTIFICATION NUMBER
 DF Insurance Agency, LLC (6918)                                       19-10413 (JLG)
 Ditech Financial LLC (5868)                                           19-10414 (JLG)
 Ditech Holding Corporation (0486)                                     19-10412 (JLG)
 Green Tree Credit LLC (5864)                                          19-10411 (JLG)
 Green Tree Credit Solutions LLC (1565)                                19-10415 (JLG)
 Green Tree Insurance Agency of Nevada, Inc. (7331)                    19-10416 (JLG)
 Green Tree Investment Holdings III LLC (1008)                         19-10417 (JLG)
 Green Tree Servicing Corp. (3552)                                     19-10418 (JLG)
 Marix Servicing LLC (6101)                                            19-10419 (JLG)
 Mortgage Asset Systems, LLC (8148)                                    19-10420 (JLG)
 REO Management Solutions, LLC (7787)                                  19-10421 (JLG)
 Reverse Mortgage Solutions, Inc. (2274)                               19-10422 (JLG)
 Walter Management Holding Company LLC (9818)                          19-10423 (JLG)
 Walter Reverse Acquisition LLC (8837)                                 19-10424 (JLG)
                   OTHER NAMES USED BY THE DEBTORS IN THE LAST 8 YEARS
 DTF Insurance Agency LLC                           Specialty Servicing Solutions
 DTFS Insurance Agency LLC                          Green Tree Licensing LLC
 Green Tree Servicing LLC
 RMS Asset Management Solutions, LLC
 REO Management Solutions, LLC
 RMS Asset Management Solutions, LLC
 Residential Asset Management Solutions, LLC
 Residential Asset Management Solutions
 RMS Reverse Mortgage Solutions, Inc.
 RMS Reverse Mortgage Solutions
 Security One Lending
 Security 1 Lending

1.     WHO MUST FILE A PROOF OF CLAIM

                You MUST file a proof of claim to vote on a chapter 11 plan filed by the Debtors
or to share in distributions from the Debtors’ bankruptcy estates if you have a claim that arose
before the Commencement Date, and it is not one of the types of claims described in Section 4
below. Claims based on acts or omissions of the Debtors that occurred before the Commencement
Date must be filed on or before the Bar Dates, even if such claims are not now fixed, liquidated or
certain or did not mature or become fixed, liquidated or certain before the Commencement Date.



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               Under section 101(5) of the Bankruptcy Code and as used in this notice, the word
“claim” means a right to (a) payment, whether or not such right is reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured, or unsecured; or (b) a right to an equitable remedy for breach of performance if such
breach gives rise to a right to payment, whether or not such right to an equitable remedy is reduced
to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.

2.     WHAT TO FILE

                Your filed proof of claim must conform substantially to Official Form 410 (the
“Official Form”). The Debtors are enclosing a case-specific proof of claim form for use in these
cases (the “Claim Form”). If your claim is listed on the schedules of assets and liabilities filed
by the Debtors (collectively, the “Schedules”), the proof of claim form also sets forth the amount
of your claim as listed on the Schedules, the specific Debtor against which the claim is scheduled,
and whether the claim is scheduled as “disputed,” “contingent,” or “unliquidated.” You will
receive a different proof of claim form for each claim listed in your name on the Schedules. You
may utilize the proof of claim form(s) provided by the Debtors to file your claim. Additional proof
of claim forms and instructions may be obtained at (a) the website established by the Debtors’
Court-approved claims and noticing agent, Epiq Corporate Restructuring, LLC, located at
http://dm.epiq11.com/Ditech or (b) the Bankruptcy Court’s website located at
www.uscourts.gov/forms/bankruptcy-forms.

               All proof of claim forms must be signed by the claimant or, if the claimant is not
an individual, by an authorized agent of the claimant. It must be written in English and be
denominated in United States currency (using the exchange rate, if applicable, as of the
Commencement Date). You also should attach to your completed proof of claim any documents
on which the claim is based (if voluminous, attach a summary) or explanation as to why the
documents are not available.

                Your proof of claim form must not contain complete social security numbers or
taxpayer identification numbers (only the last four (4) digits), a complete birth date (only the year),
the name of a minor (only the minor’s initials), or a financial account number (only the last four
(4) digits of such account number).

            IF YOU ARE ASSERTING A CLAIM AGAINST MORE THAN ONE DEBTOR OR
HAVE CLAIMS AGAINST DIFFERENT DEBTORS, SEPARATE PROOFS OF CLAIM MUST BE
FILED AGAINST EACH SUCH DEBTOR AND YOU MUST IDENTIFY ON YOUR PROOF OF
CLAIM THE SPECIFIC DEBTOR AGAINST WHICH YOUR CLAIM IS ASSERTED AND THE CASE
NUMBER OF THAT DEBTOR’S BANKRUPTCY CASE. IF YOU FILE A PROOF OF CLAIM
WITHOUT IDENTIFYING A DEBTOR, SUCH PROOF OF CLAIM WILL BE DEEMED AS FILED
ONLY AGAINST DITECH HOLDING CORPORATION. A LIST OF THE NAMES OF THE DEBTORS
AND THEIR CASE NUMBERS IS SET FORTH ABOVE.




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3.     WHEN AND WHERE TO FILE

               All proofs of claim must be filed so as to be received on or before April 1, 2019
at 5:00 p.m. (Prevailing Eastern Time) (for all persons except Governmental Units) or August
12, 2019 at 5:00 p.m. (Prevailing Eastern Time) (for all Governmental Units) as follows:

IF BY U.S. POSTAL SERVICE MAIL OR OVERNIGHT DELIVERY:

       Ditech Holding Corporation, Claims Processing Center
       c/o Epiq Bankruptcy Solutions, LLC
       P.O. Box 4421
       Beaverton, OR 97076-4421

       Ditech Holding Corporation, Claims Processing Center
       c/o Epiq Bankruptcy Solutions, LLC
       10300 SW Allen Blvd.
       Beaverton, OR 97005

IF DELIVERED BY HAND:

       Ditech Holding Corporation, Claims Processing Center
       c/o Epiq Bankruptcy Solutions, LLC
       777 Third Avenue
       12th Floor
       New York, NY 10017

       Ditech Holding Corporation, Claims Processing Center
       c/o Epiq Bankruptcy Solutions, LLC
       10300 SW Allen Blvd.
       Beaverton, OR 97005

       United States Bankruptcy Court
       for the Southern District of New York
       One Bowling Green
       New York, NY 1004-1408

IF ELECTRONICALLY:

       The website established by Epiq, using the interface available on such website located at
       http:// http://dm.epiq11.com/Ditech (the “Electronic Filing System”) and following the
       instructions provided.

               Proofs of claim will be deemed filed only when actually received at the addresses
listed above or via the Electronic Filing System on or before the applicable Bar Date. Proofs of
claim may not be delivered by facsimile, telecopy, or electronic mail transmission.




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4.     WHO NEED NOT FILE A PROOF OF CLAIM

               The following persons or entities need not file a proof of claim on or prior to the
applicable Bar Date:

               (a) any claim that has already been asserted in a proof of claim against the Debtors
                   in the above-captioned case in a form substantially similar to the Claim Form
                   or the Official Form and otherwise in compliance with the procedures set forth
                   in this notice;

               (b) any claim that is listed on the Schedules filed by the Debtors, provided that (i)
                   the claim is not scheduled as “disputed”, “contingent” or “unliquidated”; and
                   (ii) the claimant does not disagree with the amount, nature and priority of the
                   claim as set forth in the Schedules; and (iii) the claimant does not dispute that
                   the claim is an obligation of the specific Debtor against which the claim is listed
                   in the Schedules;

               (c) any claim that heretofore has been allowed by Order of the Court;

               (d) any claim that has been paid in full by any of the Debtors;

               (e) any claim for which a different deadline has previously been fixed by the Court;

               (f) any claim by a Debtor against another Debtor;

               (g) any claim that asserts an equity security interest in the Debtors, which interest
                   is based exclusively upon the ownership of common or preferred units,
                   membership interests, partnership interests, or warrants, options, or rights to
                   purchase, sell, or subscribe to such a security or interest; provided that if any
                   holder asserts such a claim (as opposed to an ownership interest) against the
                   Debtors (including a claim relating to an equity interest or the purchase or sale
                   of such equity interest), a proof of claim must be filed on or before the
                   applicable Bar Date pursuant to the procedures set forth in this notice;

               (h) any claim allowable under sections 503(b) and 507(a)(2) of the Bankruptcy
                   Code as an expense of the administration (other than a claim arising under
                   section 503(b)(9) of the Bankruptcy Code);

               (i) any claim limited exclusively to the repayment of principal, interest, fees,
                   expenses, and any other amounts owing under any agreements governing any
                   notes, bonds, debentures, or other debt securities (collectively, the “Debt
                   Securities”) (x) issued by any of the Debtors, (y) secured by assets of any of
                   the Debtors or agreements with respect to such assets, or (z) secured by assets
                   leased to any of the Debtors (a “Debt Claim”) pursuant to an indenture or credit
                   agreement, as applicable (together, the “Debt Instruments”) if the relevant
                   indenture trustee, administrative agent, registrar, paying agent, loan or



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                   collateral agent, or any other entity serving in a similar capacity however
                   designated (each, a “Debt Agent”) under the applicable Debt Instrument files
                   a single proof of claim in the Debtors’ lead chapter 11 case Ditech Holding
                   Corporation (Case No. 19-10412 (JLG), on or before the applicable Bar Date,
                   against all Debtors under the applicable Debt Instrument on account of all Debt
                   Claims; provided that any holder of a Debt Claim wishing to assert a claim
                   arising out of or relating to a Debt Instrument, other than a Debt Claim, must
                   file a proof of claim with respect to such claim on or before the applicable Bar
                   Date, unless another exception identified herein applies; or

               (j) Any claim held by the Prepetition Repo Facilities Parties, the Prepetition 1L/2L
                   Parties or any other person or entity that is not required to file a proof of claim
                   pursuant to a final order approving the Debtors’ Motion for Interim and Final
                   Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507, 546, 548, 555,
                   559, and 561 (A) Authorizing Debtors to Enter into Repurchase Agreement
                   Facilities, Servicer Advance Facilities and Related Documents; (B) Authorizing
                   Debtors to Sell Mortgage Loans and Servicer Advance Receivables in the
                   Ordinary Course of Business; (C) Granting Back-Up Liens and Superpriority
                   Administrative Expense Claims; (D) Authorizing Use of Cash Collateral and
                   Granting Adequate Protection; (E) Modifying the Automatic Stay; (F)
                   Scheduling a Final Hearing; and (G) Granting Related Relief, as may be
                   amended or superseded from time to time (the “Final DIP Order”), arising
                   from or relating to any of the Prepetition Repo Facilities Parties or the
                   Prepetition 1L/2L Documents, as applicable (each of the foregoing as defined
                   in the Final DIP Order).

               This notice may be sent to many persons that have had some relationship with or
have done business with the Debtors but may not have an unpaid claim against the Debtors. The
fact that you have received this notice does not mean that you have a claim or that the Debtors or
the Bankruptcy Court believe that you have a claim against the Debtors.

5.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

              If you hold a claim arising out of the rejection of an executory contract or unexpired
lease, you must file a proof of claim on or before the Rejection Damages Bar Date. For the
avoidance of doubt, a party to an executory contract or unexpired lease that asserts a claim on
account of unpaid amounts accrued and outstanding as of the Commencement Date pursuant to
such executory contract or unexpired lease is permitted to file a single proof of claim for such
amounts and rejection damages on or before the Rejection Damages Bar Date.

6.     CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE BAR
       DATE

          ANY HOLDER OF A CLAIM THAT IS NOT EXEMPTED FROM THE
REQUIREMENTS OF THE BAR DATE ORDER, AS SET FORTH IN SECTION 4 ABOVE,
AND THAT FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPRIATE FORM



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SHALL NOT BE TREATED AS A CREDITOR WITH RESPECT TO SUCH CLAIM FOR THE
PURPOSES OF VOTING ON ANY PLAN OF REORGANIZATION FILED IN THESE CASES
AND PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’ CASES ON
ACCOUNT OF SUCH CLAIM.


7.     THE DEBTORS’ SCHEDULES AND ACCESS THERETO

                You may be listed as a holder of a claim against one or more of the Debtors in the
Debtors’ Schedules. To determine if and how you are listed on the Schedules, please refer to the
descriptions set forth on the enclosed proof of claim form(s) regarding the nature, amount, and
status of your claim(s). If you received postpetition payments from the Debtors (as authorized by
the Bankruptcy Court) on account of your claim(s), the enclosed proof of claim form(s) should
reflect the net amount of your claim(s). If the Debtors believe that you hold claims against more
than one Debtor, you will receive multiple proof of claim forms, each of which will reflect the
nature and amount of your claim against one Debtor, as listed in the Schedules.

           IF YOU RELY ON THE DEBTORS’ SCHEDULES OR THE ENCLOSED
PROOF OF CLAIM FORM(S), IT IS YOUR RESPONSIBILITY TO DETERMINE THAT THE
CLAIM ACCURATELY IS LISTED ON THE SCHEDULES.

                As set forth above, if you agree with the nature, amount, and status of your claim
as listed in the Debtors’ Schedules, and if you do not dispute that your claim only is against the
Debtor specified by the Debtors, and if your claim is not described as “disputed,” “contingent,” or
“unliquidated,” you need not file a proof of claim. Otherwise, or if you decide to file a proof of
claim, you must do so before the applicable Bar Date, in accordance with the procedures set forth
in this notice.

                Copies of the Debtors’ Schedules are available for inspection on the Bankruptcy
Court’s electronic docket for the Debtors’ chapter 11 cases, which is posted on (a) the website
established by Epiq for the Debtors’ cases at http://dm.epiq11.com/Ditech and (b) on the Court’s
website at http://www.nysb.uscourts.gov. A login and password to the Bankruptcy Court’s Public
Access to Electronic Records (“PACER”) are required to access this information on the Court’s
website and can be obtained through the PACER Service Center at http://www.pacer.gov. Copies
of the Schedules also may be examined between the hours of 9:00 a.m. and 4:30 p.m., Monday
through Friday at the Office of the Clerk of the Bankruptcy Court, located at One Bowling Green,
New York, NY 10004-1408. Copies of the Debtors’ Schedules also may be obtained by request
to Epiq:

                     Ditech Holding Corporation, Claims Processing Center
                                 c/o Epiq Bankruptcy Solutions, LLC
                                     777 Third Avenue, 12th Floor
                                         New York, NY 10017
                                   Toll Free: (866)-486-4809
                            E-mail: ProjectPhoenix@epiqglobal.com




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A holder of a possible claim against the Debtors should consult an attorney regarding any
matters not covered by this notice, such as whether the holder should file a proof of claim.


Dated: ______________, 2019                BY ORDER OF THE COURT
       New York, New York




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                                         Exhibit 2

                                     Claim Form
